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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                                    ORLANDO DIVISION


UNITED STATES OF AMERICA

v.                                                                                        Case No. 6:07-cr-107-Orl-28UAM

GIOVANNY RIVERA-SANCHEZ

 JUDGE:                           John Antoon II                    COUNSEL FOR GOVT:                 Bruce S. Ambrose

 DEPUTY CLERK:                    Darleen Darley                    COUNSEL FOR DEFT(S):              J. Jeffrey Dowdy

 COURT REPORTER:                  Koretta Stanford                  PRETRIAL/PROBATION:               David Salce

 DATE/TIME:                       January 3, 2008                   INTERPRETER:                      None
                                  9:30-10:15 a.m.


                                 CLERK’S MINUTES ON CRIMINAL SENTENCING

Defendant is adjudged guilty on count One of the Indictment.
Motion for Court to recognize defendant’s substantial assistance (Doc. No. 734) - Granted.
IMPRISONMENT:         212 Months to run concurrent with the sentence imposed in Osceola Co. Circuit Court Kissimmee, Florida Case
No. 06-3302CF.
Supervised Release:   5 Years.
MANDATORY DRUG TESTING requirements are: Imposed.
Special Conditions of Supervised Release are:
        Participate in a program for treatment of narcotic addiction or drug or alcohol dependency.
        Community Service Program:       Perform 150 hours in lieu of paying a fine.
        Cooperate in the collection of DNA as directed by the Probation Officer.
Fine and costs of imprisonment/supervision:     Waived.
Special Assessment:    $100.00.
Defendant is remanded to the custody of the U.S. Marshal.
Additional remarks:   Defendant is advised of right to appeal.
